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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON                    MDL NO. 16-2738 (FLW) (LHG) JUDGE
 TALCUM POWDER PRODUCTS                     FREDA L. WOLFSON MAG. JUDGE LOIS
 MARKETING, SALES PRACTICES,                H. GOODMAN
 AND PRODUCTS LIABILITY
 LITIGATION
 Steven J. Kim, Individually and ,               AMENDED COMPLAINT AND JURY
 O/B/O the Estate Lynda Bondurant                         DEMAND
                            Plaintiff,
                                                                3:19-cv-14366
 v.                                         Civil Action No.:
 Johnson & Johnson, Johnson &
 Johnson Consumer Inc.,                     DIRECT FILED ACTION




                                    ,

                             Defendants.


                             FIRST AMENDED SHORT FORM COMPLAINT
                                       AND JURY DEMAND
         The Plaintiff(s) named below file(s) this Short Form Complaint and

  Demand for Jury Trial against Defendants named below by and through the

  undersigned counsel. Plaintiff(s) incorporate(s) by reference the allegations

  contained in Plaintiffs’ Master Long Form Complaint in In re: Talcum

  Powder Products Marketing, Sales Practices, and Products Liability

  Litigation, MDL No. 2738 in the United States District Court for the District

  of New Jersey. Plaintiff(s) file(s) this Short Form Complaint as permitted by

  Case Management Order No. 1 of this Court.

         In addition to those causes of action contained in Plaintiffs’ Master

   Long Form Complaint, where certain claims require specific pleadings and/or
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amendments, Plaintiff(s) shall add and include them herein.

                         IDENTIFICATION OF PARTIES

       Identification of Plaintiff(s)

1.     Name of individual injured due to the use of talcum powder product(s):
        Lynda Bondurant                                                                .

       2.   At the time of the filing of the specific case, Plaintiff(s) is/are a citizen of
        Louisiana                                                                              .
                                                                                               ..




3.     Consortium Claim(s): The following individual(s) allege damages for loss

       of consortium: Steven J. Kim



       4.    Survival and/or Wrongful Death Claims:

                Name and residence of Decedent Plaintiff when she suffered the

       talcum powder product(s) related death: Lynda Bondurant

        927 Francis Street, New Orleans, LA 70117


       5.    Plaintiff/Decedent was born on 10/2/1959                            and died on

        10/22/2020                                                                             .


       6.    Plaintiff is filing this case in a representative capacity as the
        Husband               of the Plaintiff           , having been duly appointed

       as the Administrator of the Estate by the
                                                                Civil District
                                                                                 Court of
        Parish of Orleans on March 17, 2021, Judge Robin Giarrusso .
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          7.    As a result of using talcum powder products, Plaintiff/Decedent suffered

          personal and economic injur(ies) that are alleged to have been caused by the

          use of the products identified in Paragraph 16 below, but not limited to, the

          following:

                        x          injury to herself
                        x          injury to the person represented
                        x          wrongful death
                        x          survivorship action
                        x          economic loss
                        x          loss of services
                        x          loss of consortium

                                   other:




          Identification of Defendants

8.        Plaintiff(s)/Decedent Plaintiff(s) is/are suing the following Defendant(s)

          (please check all that apply) 1:

                Ƒ✔     Johnson & Johnson

                Ƒ✔     Johnson & Johnson Consumer Inc.


      1
       If additional Counts and/or Counts directed to other Defendants are alleged by the specific
      Plaintiff(s) as to whom this Short Form Complaint applies, the specific facts supporting these
      allegations must be pleaded by the Plaintiff(s) in a manner complying with the requirements
      of the Federal Rules of Civil Procedure, and the Defendants against whom they are alleged
      must be specifically identified on a separate sheet of paper attached to this Short Form
      Complaint.
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               Ƒ      Imerys Talc America, Inc. (“Imerys Talc”)

               Ƒ      Personal Care Products Council (“PCPC”)

        Additional Defendants:

        Ƒ      Other(s) Defendant(s) (please specify):




                                    JURISDICTION & VENUE

        Jurisdiction:

        9.     Jurisdiction in this Short Form Complaint is based on:

               Ƒ
               ✔      Diversity of Citizenship

               Ƒ      Other (The basis of any additional ground for jurisdiction must

        be pled in sufficient detail as required by the applicable Federal Rules of Civil

        Procedure).



        Venue:

10.      District Court(s) and Division (if any) in which venue was proper where you

        might have otherwise filed this Short Form Complaint absent the direct filing

        Order entered by this Court and to where remand could be ordered by the

        Judicial Panel for trial:

         USDC EDLA
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                                   CASE SPECIFIC FACTS

      11.   Plaintiff(s) currently reside(s) in (City, State):
       New Orleans, Louisiana                                                       .

      12.   At the time of the Plaintiff’s/Decedent’s diagnosis with a talcum powder

      product(s) injury, Plaintiff/Decedent resided in (City, State):
       New Orleans, Louisiana
                                                                                    .

13.   The Plaintiff/Decedent was diagnosed with a talcum powder product(s) injury in
                       New Orleans, LA
      (City/State):                                       on
       October 2018                (date).

14.   To the best of Plaintiff’s knowledge, Plaintiff/Decedent began using talcum

      powder product(s) on or about the following date: 1959              and

      continued the use of talcum powder product(s) through about the following date:
       2018                    .

      15.   The Plaintiff/Decedent purchased talcum powder product(s) in the

      following (State(s)): LOUISIANA                                               .

      16.   Plaintiff/Decedent used the following talcum powder products:

            Ƒ✔        Johnson & Johnson’s Baby Powder

            Ƒ         Shower to Shower
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                                    CAUSES OF ACTION

       17. Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master Long

      Form Complaint and Jury Demand as if fully set forth herein.

18.    The following claims and allegations asserted in the Master Long Form

      Complaint and Jury Demand are herein adopted by reference by Plaintiff(s):

             Ƒ     Count I: Products Liability – Strict Liability – Failure to Warn
                   (Against Imerys Talc)

             Ƒ
             ✔
                   Count II: Products Liability – Strict Liability – Failure to Warn
                   (Against the Johnson & Johnson Defendants)

             Ƒ     Count III: Products Liability – Strict Liability – Defective
                   Manufacturer and Design (Against Imerys Talc)

             Ƒ
             ✔     Count IV: Products Liability – Strict Liability – Defective
                   Manufacturer and Design (Against the Johnson & Johnson
                   Defendants)

             Ƒ
             ✔     Count V: Breach of Express Warranties (Against the Johnson &
                   Johnson Defendants)

             Ƒ
             ✔
                   Count VI: Breach of Implied Warranty of Merchantability (Against
                   the Johnson & Johnson Defendants)

             Ƒ✔    Count VII: Breach of Implied Warranty of Fitness for a Particular
                   Purpose (Against the Johnson & Johnson Defendants)

             Ƒ     Count VIII: Negligence (Against Imerys Talc)

             Ƒ
             ✔     Count IX: Negligence (Against the Johnson & Johnson Defendants)

             Ƒ     Count X: Negligence (Against PCPC)

             Ƒ
             ✔     Count XI: Negligent Misrepresentation (Against the Johnson &
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             Johnson Defendants)

      Ƒ
      ✔      Count XII: Fraud (Against the Johnson & Johnson Defendants)

      Ƒ      Count XIII: Fraud (Against PCPC)

      Ƒ
      ✔      Count XIV: Violation of State Consumer Protection Laws of the

State of
           LOUISIANA                               (Against the Johnson &

Johnson Defendants).

      Ƒ      Count XV: Fraudulent Concealment (Against Imerys Talc)

      Ƒ✔     Count XVI: Fraudulent Concealment (Against the Johnson &
             Johnson Defendants)

      Ƒ      Count XVII: Fraudulent Concealment (Against PCPC)

      Ƒ
      ✔      Count XVIII: Civil Conspiracy (Against All Defendants)

      Ƒ
      ✔      Count XIX: Loss of Consortium (Against All Defendants)

      Ƒ
      ✔      Count XX: Punitive Damages (Against All Defendants)

      Ƒ
      ✔      Count XXI: Discovery Rule and Tolling (Against All Defendants)

      Ƒ
      ✔      Count XXII: Wrongful Death (Against All Defendants)

      Ƒ
      ✔      Count XXIII: Survival Action (Against All Defendants)

      Ƒ
      ✔        Furthermore, Plaintiff(s) assert(s) the following additional theories

and/or State Causes of Action against Defendant(s) identified in Paragraph nine

(9) above. If Plaintiff(s) includes additional theories of recovery, to the extent they

require specificity in pleadings, the specific facts and allegations supporting these

theories must be pled by Plaintiff(s) in a manner complying with the requirements
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of the Federal Rules of Civil Procedure.


 Johnson Baby Powder contains a vice or defect that renders it useless or its use so inconvenient that consumers would not have purchased it



 had they known about the vice or defect. Pursuant to Louisiana Civil Code Article 2520, a seller warrants the buyer against redhibitory defects, or vices, in the




 thing sold. Johnson's Baby Powder, which is sold and promoted by Defendants, possesses redhibitory defects because it is unreasonable dangerous, which render Johnson's




 Baby Powder useless or so inconvenient that it must be presumed that Plaintiff would not have bought or used Johnson's Baby Powder products had she known of the defects.




              WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against

Defendants of compensatory damages, punitive damages, interest, costs of suit,

and such further relief as the Court deems equitable and just, and as set forth in the

Master Long Form Complaint as appropriate.




                                                                       JURY DEMAND

              Plaintiff(s) hereby demand a trial by jury as to all claims in this action.


               June 17, 2021
Dated:                                                                                                          Respectfully Submitted by,
                                                                                                                 s/Andrew J Geiger
                                                                                                                 Andrew J. Geiger, Esq. Bar #32467
                                                                                                                 Allan Berger, Esq. Bar #2977
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                                                                                                                 4173 Canal Street
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                                                                                                                 Counsel for Plaintiff(s)
